Case 2:13-cr-00120-APG-GWF   Document 138   Filed 02/20/14   Page 1 of 22
Case 2:13-cr-00120-APG-GWF   Document 138   Filed 02/20/14   Page 2 of 22
Case 2:13-cr-00120-APG-GWF   Document 138   Filed 02/20/14   Page 3 of 22
Case 2:13-cr-00120-APG-GWF   Document 138   Filed 02/20/14   Page 4 of 22
Case 2:13-cr-00120-APG-GWF   Document 138   Filed 02/20/14   Page 5 of 22
Case 2:13-cr-00120-APG-GWF   Document 138   Filed 02/20/14   Page 6 of 22
Case 2:13-cr-00120-APG-GWF   Document 138   Filed 02/20/14   Page 7 of 22
Case 2:13-cr-00120-APG-GWF   Document 138   Filed 02/20/14   Page 8 of 22
Case 2:13-cr-00120-APG-GWF   Document 138   Filed 02/20/14   Page 9 of 22
Case 2:13-cr-00120-APG-GWF   Document 138   Filed 02/20/14   Page 10 of 22
Case 2:13-cr-00120-APG-GWF   Document 138   Filed 02/20/14   Page 11 of 22
Case 2:13-cr-00120-APG-GWF   Document 138   Filed 02/20/14   Page 12 of 22
Case 2:13-cr-00120-APG-GWF   Document 138   Filed 02/20/14   Page 13 of 22
Case 2:13-cr-00120-APG-GWF   Document 138   Filed 02/20/14   Page 14 of 22
Case 2:13-cr-00120-APG-GWF   Document 138   Filed 02/20/14   Page 15 of 22
Case 2:13-cr-00120-APG-GWF   Document 138   Filed 02/20/14   Page 16 of 22
Case 2:13-cr-00120-APG-GWF   Document 138   Filed 02/20/14   Page 17 of 22
Case 2:13-cr-00120-APG-GWF   Document 138   Filed 02/20/14   Page 18 of 22
Case 2:13-cr-00120-APG-GWF   Document 138   Filed 02/20/14   Page 19 of 22
Case 2:13-cr-00120-APG-GWF   Document 138   Filed 02/20/14   Page 20 of 22
Case 2:13-cr-00120-APG-GWF   Document 138   Filed 02/20/14   Page 21 of 22
Case 2:13-cr-00120-APG-GWF   Document 138   Filed 02/20/14   Page 22 of 22
